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UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA \

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February 2005 Grand Jury

CR 05- Jofy

INDICIMENT

UNITED STATES OF AMERICA, )

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Plaintiff, )
)
Vv. ) {18 U.S.C. § 371: Conspiracy;

} 18 U.S.C. § 2511(1) (a):
ANTHONY PELLICANO,. } Interception of Wire
RAYFORD EARL TURNER, } Communications; 18 U.S.C.
KEVIN KACHIKIAN, ) § 2(a): Aiding and Abetting]
ROBERT PFEIFER, )

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ABNER NICHERIE, and
DANIEL NICHERIE,

Defendants.

 

The Grand Jury charges:
- COUNT ONE
[18 U.S.C. § 371]

A. OBJECT OF THE CONSPIRACY

Beginning on a date unknown to the Grand Jury and continuing
until on or about November 21, 2002, in Los Angeles County,
within the Central District of California and elsewhere,
defendants ANTHONY PELLICANO, RAYFORD EARL TURNER, and KEVIN
KACHIKIAN, and others known and Sea yTeagbe Grand Jury,

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knowingly conspired and agreed with each other to intentionally
intercept, endeavor to intercept, and procure other persons to
intercept and endeavor to intercept wire communications, in
violation of Title 18, United States Code, Section 2511(1) (a}.

B. MEANS BY WHICH THE OBJECT OF THE CONSPIRACY WAS TO BE

ACCOMPLISHED

The object of the conspiracy was to be accomplished, in
substance, as follows:

‘1. At defendant PELLICANO’s direction, defendant KACHIKIAN
would develop, implement, and maintain a computer software
program to facilitate the illegal interception of telephone
calls.

2. At defendant PELLICANO’s direction, defendant TURNER, a
field technician for telephone company SBC (formerly Pacific
Bell), would access proprietary telephone company databases and
equipment to implement the illegal wiretaps.

3. Defendant PELLICANS would provide the computers used to
implement the illegal wiretaps, would review the contents of
intercepted conversations, and would ensure that defendants
PELLICANO, TURNER, KACHIKIAN, and others known and unknown to the
Grand Jury received payment for their services in connection with
the illegal wiretaps.

C. OVERT ACTS

In furtherance of the conspiracy and to accomplish the
object of the conspiracy, defendants PELLICANO, TURNER,
KACHIKIAN, and others known and unknown to the Grand Jury
committed various overt acts on or about the following dates

within the Central District of California and elsewhere,

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including but not limited to the following:

1. Beginning in or around 1995, defendant KACHIKIAN began
developing for defendant PELLICANO “Telesleuth,” a computer
software program to be used for the purpose of intercepting
telephonic communications.

2. On or about March 11, 1996, defendant PELLICANO
requisitioned engineering services necessary for the completion
of hardware to be used in connection with the “Telesleuth”
wiretapping program.

3. From in or around January 1997 to in or around
September 2002, defendant PELLICANO paid defendant TURNER at
least $37,305 for the purpose of obtaining proprietary telephone
company information and facilitating illegal wiretaps.

4, On or about July 19, 2000, defendants PELLICANO and
KACHIKIAN requisitioned Amuneal Manufacturing Corp. to create new
metal housings for the circuit boards used in connection with the
“Telesleuth” wiretapping program.

5. On or about August 2, 2000, defendant TURNER caused an
inquiry to be made of a proprietary SBC computer database to
obtain telephone information regarding E.F.

6. Between on or about August 2, 2000, and November 6,
2000, defendant PELLICANO used the “Telesleuth” program to
intercept telephone communications of E.F.

7, Between in or around August 2000 and in or around
December 2000, defendant PELLICANO used the “Telesleuth” program

to intercept telephone communications of A.S.

 

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COUNT TWO
[18 U.S.C, §§ 2511{1) (a), 2(a)]

Beginning on or about August 2, 2000, and continuing to at
least on or about November 6, 2000, in Los Angeles County, within
the Central District of California, defendants ANTHONY PELLICANO,
RAYFORD EARL TURNER, and KEVIN KACHIKIAN intentionally
intercepted, endeavored to intercept, and procured another person
to intercept and endeavor to intercept, wire communications of
E.F.

At the above time and place, defendant ROBERT PFEIFER aided,

abetted, counseled, commanded, induced, and procured the

commission of this offense.

 

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COUNT THREE
[18 U.S.C. §§ 2511(1) (a), 2(a)]

Beginning in or around August 2000 and continuing to in or
around December 2000, in Los Angeles County, within the Central
District of California, defendants ANTHONY PELLICANO, RAYFORD
EARL TURNER, and KEVIN KACHIKIAN intentionally intercepted,
endeavored to intercept, and procured another person to intercept
and endeavor to intercept, wire communications of A.S.

At the above time and place, defendants ABNER NICHERIE and
DANIEL NICHERIE aided, abetted, counseled, commanded, induced,

and procured the commission of this offense.

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GEORGE S$. CARDONA
Actin Ated States Attorney

  
   

/ O* BRIEN
AsSistant United States Attorney
Chief, Criminal Division

DANIEL A. SAUNDERS

KEVIN M. LALLY

Assistant United States Attorneys
Organized Crime & Terrorism Section

 

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